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PATRICIA S. DODSZUWEIT            UNITED STATES COURT OF APPEALS                    TELEPHONE
                                            FOR THE THIRD CIRCUIT                  215-597-2995
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                                             601 MARKET STREET
                                         PHILADELPHIA, PA 19106-1790
                                      Website: www.ca3.uscourts.gov

                                            January 25, 2023




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RE: Consumer Financial Protection Bureau v. National Collegiate Master Student
Loan Trust, et al
Case Number: 22-1864
District Court Case Number: 1-17-cv-01323

Dear Counsel:

The above-entitled case(s) has/have been tentatively listed on the merits on Friday,
March 24, 2023 in PHILADELPHIA, PA. It may become necessary for the panel to
move this case to another day within the week of March 20, 2023. Counsel will be
notified if such a change occurs.

The panel will determine whether there will be oral argument and if so, the amount of
time allocated for each side. (See Third Circuit Internal Operating Procedures, Chapter
2.1.) No later than 18 calendar days prior to the first day of the panel sitting, you will be
advised whether oral argument will be required, the amount of time allocated by the
panel, and the specific date on which argument will be scheduled.
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Counsel shall file an acknowledgment form within seven (7) days from the date of this
letter, and advise the name of the attorney who will present oral argument. In addition,
please indicate whether or not s/he is a member of the bar of this Court. Bar membership
is not necessary if counsel represents a U.S. government agency or officer thereof or if
the party is appearing pro se. If the attorney is not a member of the bar of this Court, an
application for admission should be completed, which should be returned to this office
without delay.

The hyperlinks for access to the acknowledgment form, application for admission, and
appearance form are provided for your convenience, and are also available on the Third
Circuit website.

Very truly yours,



PATRICIA S. DODSZUWEIT
Clerk


By:



Ashley Ritz
Calendar Clerk
267-299-4947
